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                              UNITED STATES DISTRICT COURT                          F \LEI
                            SOUTHERN DISTRICT OF CALIFORNIA tJ JAN 31                           AIHfl Sl

 UNITED STATES OF AMERICA,                             CASE NO.

                              Plaintiff,
                    vs.                                JUDGMENT OF DISMISSAL
 CHARLIE D'AGOSTINO (9),

                              Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

       an indictment has been filed in another case against the defendant and
       the Court has granted the motion of the Government for dismissal of
       this case, without prejudice; or

       the Court has dismissed the case for unnecessary delay; or

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  X_ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

       the Court has granted the motion of the defendant for a judgment of
       acquittal; or

       a jury has been waived, and the Court has found the defendant not
       guilty; or

       the jury has returned its verdict,                 finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Superseding Indictment:

8:1955; 18:98l(a)(l)(C), 1955(d), 28:246l(c)- Illegal Gambling Business; Criminal Forfeiture
(2) 18:1956(h); 21:853(p), 18:982(b)- Money Laundering Conspiracy; Criminal Forfeiture (3)




              IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED:
